                                                                                                                                                        Page No:    1
                                      Case 12-15107-RBR                          FORM
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                                                 INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                  ASSET CASES
Case No.:                     12-15107-RBR                                      Trustee Name:                                                     Sonya L. Salkin
Case Name:                    WILLIAMSON, CHARLES RICHARD AND WILLIAMSON, JUDITHDate
                                                                                E Filed (f) or Converted (c):                                     02/29/2012 (f)
For the Period Ending:        9/30/2017                                                               §341(a) Meeting Date:                       04/10/2012
                                                                                                      Claims Bar Date:                            07/18/2012

                         1                                   2                      3                           4                         5                         6

                 Asset Description                       Petition/          Estimated Net Value            Property                 Sales/Funds               Asset Fully
                  (Scheduled and                       Unscheduled         (Value Determined by            Abandoned               Received by the         Administered (FA) /
             Unscheduled (u) Property)                    Value                   Trustee,           OA =§ 554(a) abandon.             Estate                Gross Value of
                                                                          Less Liens, Exemptions,                                                           Remaining Assets
                                                                             and Other Costs)

 Ref. #
1       Homestead located at 6707 NW                  $68,240.00                             $0.00                                              $0.00                       FA
        58th St, Tamarac
 Asset Notes:      Orig. Asset Memo: Imported from original petition Doc# 14
2        Cash on hand.                                           $20.00                      $0.00                                              $0.00                       FA
Asset Notes:        Orig. Asset Memo: Imported from original petition Doc# 14
3      Bank of America - Checking                      $1,362.73                             $0.00                                              $0.00                       FA
       acct. ending in 7113
Asset Notes:       Orig. Asset Memo: Imported from original petition Doc# 14
4      Household Goods and                              $605.00                              $0.00                                              $0.00                       FA
       Furnishings
Asset Notes:      Orig. Asset Memo: Imported from original petition Doc# 14
5        Wearing Apparel                                         $50.00                      $0.00                                              $0.00                       FA
Asset Notes:        Orig. Asset Memo: Imported from original petition Doc# 14
6      Wife only - rollover from                      $9,018.95                              $0.00                                              $0.00                       FA
       401(k) - BOA IRA
Asset Notes:      Orig. Asset Memo: Imported from original petition Doc# 14
7        2008 Ford Focus                                    $5,219.00                    $2,075.00                                              $0.00                       FA
Asset Notes:        debtor provided proof of insurance
8        2007 Honda Civic Sedan                             $6,547.00                    $2,075.00                                              $0.00                       FA
Asset Notes:        debtor provided proof of insurance
9        2009 Used Toyota Yaris                             $8,592.00                        $0.00                                              $0.00                       FA
Asset Notes:        debtor provided proof of insurance
10       2008 Used Toyota Yaris                             $8,289.00                        $0.00                                              $0.00                       FA
Asset Notes:        debtor provided proof of insurance
11       2011 Tax Return                         (u)        $2,432.00                    $2,432.00                                              $0.00                       FA
12       Personal Injury Claim                   (u)              $0.00                      $1.00                                              $0.00                     $1.00
Asset Notes:       estimating a value will jeopardize the on going litigation


TOTALS (Excluding unknown value)                                                                                                              Gross Value of Remaining Assets
                                                         $110,375.68                     $6,583.00                                              $0.00                  $1.00




     Major Activities affecting case closing:
       1. Trustee re-opened case to administer personal injury claim- update- special counsel is currently reviewing motion to approve settlement and
       trustee anticipates filing of that motion by October 30, 2017 KMC
       2. CBD: 7/18/12; claims reviewed and ok. sls
       3. No tax return needed for supplemental recovery on personal injury claim.


 Initial Projected Date Of Final Report (TFR):             08/31/2013                                                    /s/ SONYA L. SALKIN
 Current Projected Date Of Final Report (TFR):             03/30/2018                                                    SONYA L. SALKIN
